       Case 1-18-47256-cec            Doc 85       Filed 07/15/19    Entered 07/15/19 15:09:49




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                               Chapter 11

        4921 12th Avenue, LLC                                       Case no. 18-47256

                                    Debtor.
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                                    CERTIFICATION OF BALLOTS

                 Backenroth Frankel & Krinsky, LLP, as attorneys for 4921 12th Avenue, LLC

(“Debtor”) proponent of the Amended Plan of Reorganization (the “Plan”) filed on April 4,

2019, certifies as follows regarding ballots received voting to accept or reject the Plan:

               1.     Class 2. Galster Funding LLC, a Class 2 non-insider creditor with a claim
totaling $9,480,175, voted to accept the Plan.
              2.      Class 3. Old Republic, a Class 3 non-insider creditor with a claim totaling
$13,500,000, voted to accept the Plan.
               3.     Class 5. Old Republic, a Class 5 non-insider creditor with an unliquidated
deficiency Claim, voted to accept the Plan.
              4.       Class 6. “Debtor, stakeholder, party in interest” submitted a as ballot
executed with an illegible signature as “Pres” voting to reject the Plan.
                 5.       No other ballots were received.
Dated: New York, New York
       July 15, 2019

                                   BACKENROTH FRANKEL & KRINSKY, LLP
                                   Attorneys for the Proponent

                                   By:     /s/ Mark Frankel
                                             800 Third Avenue
                                             New York, New York 10022
                                             (212) 593-1100
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